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                    PSJ11 CVS Opp Exh 25
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                                           SETTLEMENT AGREEMENT

                  This Settlement Agreement (- Agreement") is entered into by and among the United

           States Attorney's Office for the Middle District of Florida, acting on behalf of the United States,

          the Drug Enforcement Administration ("DEA") for the Miami Division, and CVS Health and all

          of its subsidiaries and affiliates (collectively "CVS") (each a "Party" and collectively the

          "Parties").

                                                      RECITALS

                  A.      CVS Health is a Delaware corporation with its corporate headquarters in

           Woonsocket, Rhode Island. CVS Health, directly or through its retail pharmacy subsidiaries and

          affiliates, and through its CVS/pharmacy division, operates retail pharmacies in the State of

          Florida that dispense prescription drugs, including controlled substances, to retail consumers

          (hereafter referred to as "CVS/pharmacy retail stores"). Through its CVS/caremark division,

          CVS also operates mail service pharmacies that dispense prescription drugs, including controlled

          substances, by mail to retail consumers.

                  B.      Each CVS/pharmacy retail store in Florida is separately registered with DEA and

          is assigned a unique DEA registration number that authorizes it to dispense controlled substances

          pursuant to the provisions of the Controlled Substances Act. 21 U.S.C. §§ 801 et seq. ("CSA"),

          and its implementing regulations. The CVS/pharmacy retail stores located in Florida will be

          referred to collectively herein as - Florida CVS/pharmacy retail stores."

                  C.      Pharmacies registered with DEA as chain pharmacies are permitted to dispense

          prescriptions, including controlled substances. to their walk-in customers as well as by mail. For

          purposes of this Agreement, - Florida CVS/pharmacy retail stores include those CVS entities,




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                      subsidiaries, and affiliates that are located in Florida and that dispense prescriptions. including

                      controlled substances, by mail.

                              D.     CVS also owns and operates distribution centers in Florida that are or were

                      registered with DEA as distributors of Schedules III-V controlled substances (collectively

                      - Florida Distribution Centers"). Each CVS Distribution Center is separately registered with

                      DEA and is assigned a unique DEA registration number that authorizes it to distribute controlled

                      substances pursuant to the rules and regulations in the CSA and its implementing regulations.

                             E.      CVS acknowledges that all of its DEA-registered CVS/pharmacy retail stores and

                      Distribution Centers were and are required to comply with the CSA and the regulations

                      promulgated thereunder.

                             F.      The CSA prohibits the distribution of a controlled substance without a valid

                      prescription. 21 U.S.C. § 842(a)(l ). To be valid, a prescription must be issued for a legitimate

                      medical purpose by art individual practitioner acting in the usual course of his or her professional

                      practice. 21 C.F.R. § 1306.04.

                             0.      CVS acknowledges that it has a corresponding responsibility to dispense only

                      those prescriptions that have been issued for a legitimate medical purpose by an individual

                      practitioner acting in the usual course of professional practice and that knowingly filling a

                      prescription not in the usual course of professional treatment or in legitimate and authorized

                      research subjects CVS to penalties under the CSA. 21 C.F.R. § 1306.04.

                             H.      On October 18, 2011, DEA served Administrative Inspection Warrants on two

                      CVS/pharmacy retail stores in Florida: (i) Store 219, which was registered with DEA as a chain

                      pharmacy authorized to dispense controlled substances in Schedules II-V controlled substances

                      under DEA registration number 1305289055 at 3798 Orlando Drive. Sanford, Florida; and (ii)




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                      Store 5195, which was registered with DEA as a chain pharmacy authorized to dispense

                      controlled substances in Schedules Il-V under DEA registration number BC6988298 at 4639

                      West 1 a Street, Sanford, Florida.

                             I.      DEA revoked the registrations issued to CVS stores 219 and 5195 in an order

                      published on October 12, 2012, See 77 Fed. Reg. 62316-01 (Oct. 12. 2012). DEA revoked the

                      registrations of DEA stores 219 and 5195 based, among other things, on their failure to fulfill

                      their corresponding responsibilities under 21 C.F.R. § 1306.04.

                             J.      The United States contends that CVS failed to fulfill its corresponding

                      responsibility under 21 C.F.R. § 1306.04 and thus is subject to civil penalties under 21 U.S.C.

                      § 842(0(1) and § 842(0(1I.

                             K.      CVS acknowledges that certain CVS/pharmacy retail stores did dispense certain

                      controlled substances in a manner not fully consistent with their compliance obligations under

                      the CSA and its implementing regulations.

                             L.      At all times relevant herein, the CSA authorized the imposition of civil penalties

                      for each of the categories of Covered Conduct as described in paragraph 2 below.

                             To avoid the delay, expense, inconvenience, and uncertainty of litigation of the above

                      claims, and in consideration of the mutual promises and obligations of this Agreement, the

                      Parties agree and covenant as follows:

                                                       TERMS AND CONDITIONS

                             1.      Paragraphs A-L set forth above are fully adopted herein.

                             2.      For purposes of this Agreement, "Covered Conduct" shall mean the following:




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                          Florida CVS/pharmacy Retail Stores

                          (i)     Conduct alleged in the February 2, 2012 Orders to Show Cause and

           Immediate Suspension Orders issued to CVS stores 219 and 5195 and in DEA's filings in In the

           Matter of Holiday CVS, L.L.C., d/b/a CVS/Pharmacy #00219 and Holiday C' VS, L. L. C., d/b/a

           C VS/Pharmacy #05195, Docket Nos. 12-37 and 12-38;

                          (ii)    Failure of any Florida C VS/pharmacy retail store. on or before the

           Effective Date of this Agreement, to fulfill its corresponding responsibility to ensure that CVS

           dispensed controlled substances only pursuant to prescriptions issued for legitimate medical

           purposes by practitioners acting in the usual course of their professional practice, as required by

           21 C.F.R. § 1306.04, and the dispensing. on or before the Effective Date of this Agreement, by

          any Florida CVS/pharmacy retail store of controlled substances pursuant to prescriptions that

           were invalid under 21 C.F.R. Part 1306;

                          (iii)   Dispensing, on or before the Effective Date of this Agreement, by any

          Florida CVS/pharmacy retail store of controlled substances to individuals CVS knew or should

          have known were diverting controlled substances;

                          (iv)    Dispensing, on or before the Effective Date of this Agreement, by any

          Florida CVS/pharmacy retail store of controlled substances pursuant to prescriptions issued by

          physicians who did not have current, valid DEA registrations;

                          (v)     Refusal or negligent failure, on or before the Effective Date of this

          Agreement, by any Florida CVS/pharmacy retail store to make. keep, or furnish any record,

          report, notification, declaration, order or order form. statement, invoice, or information required

          under subchapter I or subchapter II of the CSA and the CSA's implementing regulations,

          including, but not limited to, failure by any Florida CVS/pharmacy retail store to comply with



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           the record-keeping obligations contained in 21 C.F.R. Part 1304, and to comply with regulations

           regarding prescriptions contained in 21 C.F.R. Part 1306; and

                          (vi)     Conduct by any Florida CVS/pharmacy retail store that occurred on or

           before the Effective Date of this Agreement and that is inconsistent with or in violation of the

           CSA and/or its implementing regulations.

                          Florida Distribution Centers

                          (vii)    Failure, on or before the Effective Date of this Agreement, by any Florida

           Distribution Center to maintain effective controls against the diversion of controlled substances

           into other than legitimate medical, scientific, and industrial channels, as required by 21 U.S.C.

           § 823(e);

                          (viii)   Failure, on or before the Effective Date of this Agreement, by any Florida

           Distribution Center to timely detect and report suspicious orders of controlled substances, as

           required by 21 U.S.C. §§ 822 and 823 and 21 C.F.R. § 1301.74(b);

                          (ix)     Distribution, on or before the Effective Date of this Agreement, by any

           Florida Distribution Center of controlled substances to a Florida CVS/pharmacy retail store that

           the Distribution Center knew or should have known was engaged in any of the Covered Conduct

          described above in paragraphs 2(i)-2(vi):

                          (x)      Failure, on or before the Effective Date of this Agreement, by any Florida

           Distribution Center to make and complete accurate reports through the Automation of Reports

          and Consolidated Orders System (ARCOS), as required by 21 U.S.C. § 827;

                          (xi)     Refusal or negligent failure, on or before the Effective Date of this

           Agreement, by any Florida Distribution Center to make, keep, or furnish any record, report,




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           notification. declaration, order or order form, statement, invoice, or information required under

           subchapter I or subchapter II of the CSA and the CSA's implementing regulations; and

                          (xii)   Conduct by any Florida Distribution Center that occurred on or before the

           Effective Date of this Agreement and that is inconsistent with or in violation of the CSA and/or

           its implementing regulations.

                  3.      CVS shall pay to the United States the total sum of $22,000,000.00 (twenty-two

           million dollars and no cents) (the "Settlement Amount") within ten (10) business days after the

           Effective Date of this Agreement by electronic funds transfer pursuant to the written instructions

           provided to CVS by the United States Attorney's Office for the Middle District of Florida.

                  4.      In consideration of the undertakings of the United States contained herein, CVS

           fully and finally releases the United States, its agencies, officers, employees, servants, and agents

           from any claims (including attorney's fees, costs and expenses of every kind and however

          denominated) that CVS has asserted, could have asserted, or may assert in the future against the

           United States, its agencies. officers, employees, servants, and agents related to the investigation,

          prosecution, and settlement of the Covered Conduct, provided, however, that CVS reserves and

          does not release any liability based on obligations created by this Agreement.

                  5.      In consideration of the undertakings by CVS, and subject to the exceptions in

          Paragraph 6 below (concerning excluded claims). and conditioned upon CVS's full payment of

          the Settlement Amount, the United States Attorney's Office for the Middle District of Florida,

          acting on behalf of the United States. and the DEA for the Miami Division agree to:

                          (i)     Release and refrain from instituting any administrative claims against

          CVS or any of its subsidiaries or affiliates and any of the officers, directors, employees, agents,

          successors, and assigns of each, arising from or related to the Covered Conduct;



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                          (ii)     Refrain from filing any action for civil penalties under 21 U.S.C. § 842

           based on, arising from, or related to the Covered Conduct.

                   6.     Notwithstanding the releases given in Paragraph 5 of this Agreement. the United

           States specifically reserves and does not release:

                          (i)     Any federal criminal liability;

                          (ii)    Any criminal. civil, or administrative claim arising under Title 26, United

           States Code (Internal Revenue Code);

                          (iii)   Any liability to the United States (or its agencies) for any conduct other

           than the Covered Conduct; and

                          (iv)    Any liability based on obligations created by this Agreement.

                   7.     Nothing in this Agreement constitutes an Agreement by the United States

           Attorney's Office concerning the characterization of the Settlement Amount for purposes of the

           Internal Revenue laws, Title 26 of the United States Code.

                  8.      This Agreement binds and is intended to benefit only the Parties. This Agreement

           is not intended to be, and shall not be interpreted to constitute, a release of any person or entity

          not identified or referred to herein. This Agreement is specifically limited to the Office of the

           United States Attorney for the Middle District of Florida and the DEA for the Miami Division

          and cannot bind other federal, state. or local authorities and jurisdictions.

                  9.      Each Party shall bear its own legal and other costs incurred in connection with

          this matter, including the preparation and performance of this Agreement.

                  10.     Each Party and signatory to this Agreement represents that he, she, or it freely and

          voluntarily enters into this Agreement without any degree of duress or compulsion.




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HIGHLY CONFIDENTIAL                                                                                       CVS-MDLT1-000060802
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                  11.     This Agreement is governed by the laws of the United States. The exclusive

           jurisdiction and venue for any dispute relating to this Agreement is the United States District

           Court for the Middle District of Florida. For purposes of construing this Agreement, the

           Agreement shall be deemed to have been drafted by all Parties to this Agreement and shall not be

           construed against any Party for that reason in any subsequent dispute.

                  12.     This Agreement constitutes the complete agreement between the Parties. All

           material representations, understandings, and promises of the Parties are contained in this

           Agreement. Each of the Parties expressly agrees and acknowledges that, in entering this

           Agreement, it is relying on only the statements and promises expressly set forth in this written

           Agreement. This Agreement cannot be amended, nor any provisions waived, except in writing

           and when signed by all Parties to this Agreement.

                  13.     The undersigned counsel represent and warrant that they are fully authorized to

           execute this Agreement on behalf of the Parties listed below.

                  14.     This Agreement may be executed in counterparts, including by facsimile, pdf, or

          other electronic form of signature, each of which constitutes an original and all of which

          constitute one and the same Agreement.

                  15.     This Agreement inures to the benefit of and is binding on each Party and its

          respective successors. transferees. heirs, and assigns.

                  16.     The Parties may disclose the existence of and information about this Agreement

          to the public without restriction.

                  17.     This Agreement is effective on the date of signature of the last signatory to the

          Agreement (Effective Date of this Agreement). The United States agrees to notify CVS

           immediately when the final signatory has executed this Agreement.

                                               [Signatures begin on next page.]

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              ON BEHALF OF THE UNITED STATES OF AMERICA;




                                                         DATE:
              Lacy R. Harwell, Jr.
              Chief, Civil Division
              United States Attorney's Office
              Middle District of Florida




                                                         DATE:   S-
              Katherine M. Ho
              Assistant U.S. Attorney
              United States Attorney's Office
              Middle District of Florida




                                                   /-    DATE:        /7   - /5
              Adolphus Wrigh
              Acting Special Agent in Charge
              Drug Enforcement Administration,
              Miami Division




              ON BEHALF OF CVS PHARMACY, INC.:




                                                                 DATE:
              Elizabeth Fe Gs n
              Senior Vice resident. Assistant General Counsel
              CVS Pharmacy. Inc.




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HIGHLY CONFIDENTIAL                                                               CVS-MDLT1-000060804
